Case 1:15-cr-00252-PKC-RML            Document 2050         Filed 12/02/24       Page 1 of 2 PageID #:
                                             36223


                                                                                  James A. Mitchell
                                                                                  Tel: 646.346.8006
                                                                                  Fax: 212.223.1942
                                                                                  mitchellj@ballardspahr.com




 December 2, 2024

 Via Email

     The Honorable Pamela K. Chen
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201-1818

 Re:      United States v. Napout et al. Case No. 15-CR-252

 Dear Judge Chen:

        As Your Honor will recall, we represent José María Marín in the above-referenced matter.
 Given the state of Mr. Marin’s health, we write to respectfully request that the Court move forward
 with addressing Mr. Marin’s petition for a writ of error coram nobis (ECF No. 2036) (“Petition”),
 which the Court has deferred ruling on pending the Second Circuit’s decision in United States v.
 Hernan Lopez, et al., 2d Cir. Nos. 23-7183 (L), 23-7186 (Con).

         Enclosed is a letter from Mr. Marin’s physician in Brazil (along with a translated version in
 English). As the doctor’s report makes plain, unfortunately Mr. Marin is now in end-of-life care and
 is not expected to survive more than a few months.1 Given these exigent circumstances, we
 respectfully submit that it would be in the interests of justice for the Court to decide the Petition as
 soon as practicable. To this point, it is our understanding that oral argument on the Lopez appeal will
 not take place until January 8, 2025. In other words, a resolution of that appeal prior to Mr. Marin’s
 death seems less likely with each passing day.

         In the alternative, if the Court is not inclined to move forward with addressing the Petition at
 this juncture, we respectfully request that the Court issue an order providing that, in the event of Mr.
 Marin’s passing before the Petition is resolved, his estate will have standing to pursue it. See Blanton
 v. United States, Nos. 3-86-0593, 3-87-0667, and 3-88-0004, 1988 WL 182378 (M.D. Tenn. Jan. 27,
 1988) (permitting substitution of deceased petitioner’s widow to pursue return of fine through coram
 nobis petition filed by petitioner before his death). That will at least provide some comfort and
 certainty to Mr. Marin’s relatives as to the future of the application.

         I have spoken with AUSA Kaitlin Farrell and the government objects to both of the above
 applications.

 1
          We are filing the medical report and translation under seal given that it contains sensitive
          personal medical information. Those documents have been emailed separately to the
          government.
Case 1:15-cr-00252-PKC-RML            Document 2050             Filed 12/02/24     Page 2 of 2 PageID #:
 The Honorable Pamela K. Chen                36224
 December 2, 2024
 Page 2



         We thank the Court for its attention to this matter.

                                                                   Respectfully submitted,

                                                                   /s/ James A. Mitchell

                                                                   James A. Mitchell

 Encl.

 cc:     All Counsel of Record (via ECF and email)
